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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



KELVIN LEON JONES et al.,

                 Plaintiffs,
                                                  CONSOLIDATED
v.                                                CASE NO. 4:19cv300-RH/MJF

RON DeSANTIS in his official capacity as
Governor et al.,

                 Defendants.

_________________________________________/


                               SCHEDULING ORDER


        1. The trial is set for the two-week trial period that begins on Monday, April

6, 2020 and is tentatively first on the docket.

        2. Within 7 days after entry of an order on the plaintiffs’ preliminary-

injunction motion, the plaintiffs must file a supplemental memorandum in support

of their class-certification motion that (a) sets out their proposed class definition or

definitions and (b) addresses any new class-certification issues arising from the

preliminary-injunction ruling. The memorandum must not exceed 3,200 words.

        3. The deadline for the defendants’ response to the class-certification motion

is 21 days after the plaintiffs file their supplemental memorandum. The

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defendants’ principal memorandum must not exceed 8,000 words. Separate

memoranda of other defendants, if any, must not exceed 1,600 words.

        4. The discovery deadline is January 27, 2020.

        5. The deadline for Federal Rule of Civil Procedure 26(a)(2) and 26(a)(3)

disclosures is March 2, 2020.

        6. The deadline for trial briefs is March 23, 2020.

        7. The motion for leave to file an amicus brief, ECF No. 173, is granted. The

brief is deemed properly filed.

        8. The motions for leave to file exhibits after the deadlines, ECF Nos. 170,

190, and 194 are granted. The exhibits are deemed part of the preliminary-

injunction record.

        9. The motion in limine, ECF No. 195, seeking to exclude evidence of racial

discrimination or racially disparate impact is denied.

        10. The motion, ECF No. 196, to extend the deadline to respond to the class-

certification motion is granted to the extent set out above and otherwise denied.

        11. Leave is granted for the plaintiffs in each case to file an amended

complaint. The deadline is October 29, 2019. As set out in the order of July 23,

2019, an amended complaint—and any answer to an amended complaint—must be




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filed only in the individual case to which it applies.

        SO ORDERED on October 8, 2019.

                                        s/Robert L. Hinkle
                                        United States District Judge




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